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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 KELLIE CARDER, et al., individually
 and on behalf of all others similarly
 situated,                                     Civil Action No. 2:20-cv-00137-
                                                            LMM
                    Plaintiffs,

 vs.

 GRACO CHILDREN’S PRODUCTS,
 INC.,

                    Defendant.




            PLAINTIFFS’ REQUEST FOR ORAL ARGUMENT

       Plaintiffs respectfully request that the Court allow oral argument on

Defendant’s Motion to Dismiss Plaintiffs’ Consolidated Amended Complaint.

Plaintiffs believe that oral argument will be beneficial to the Court for two

reasons.

       First, Defendant’s Motion to Dismiss relies heavily on its argument that

Plaintiffs lack standing. That issue requires application of a recent decision

of the Eleventh Circuit, Debernardis v. IQ Formulations, LLC, 942 F.3d 1076
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(11th Cir. 2019), which has not yet been the subject of extensive discussion by

other courts.

     Second, the Motion to Dismiss and Plaintiffs’ responsive brief address

complex issues involving Georgia choice of law principles, the statutory law of

15 states, and proper application of federal regulations as related to state law.

For these reasons, Plaintiffs believe that the Court may find oral argument

helpful in ruling on Defendant’s Motion to Dismiss. Defendant does not join

in this request for oral argument.

Dated: June 4, 2021                        Respectfully submitted,

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                     CERTIFICATEOF COMPLIANCE

      I hereby certify that this document was prepared in compliance with Northern

District of Georgia Local Rule 5.1C using Century Schoolbook 13-point font.



   Dated: June 4, 2021                      By:      /s/ David J. Worley
                                                     David J. Worley




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                         CERTIFICATE OF SERVICE

       I hereby certify that on this date the foregoing REQUEST FOR ORAL

ARGUMENT was electronically filed with the Clerk using the CM/ECF system,

which will send a notice of electronic filing to all registered users of the CM/ECF

system.


   Dated: June 4, 2021                         By:    /s/ David J. Worley
                                                      David J. Worley

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